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                                                  BY----
                                                                                      DEPUTY
                                                                     April 29, 20 IS

Law Officc of Joseph A. Baltcr. LLC
Mt. Washington Mill
1340 Smith Avcnue, Suitc 200
Baltimorc, MD 21209

        Rc:     Unitcd Statcs v. Ravmond Kilchcnstcin.                    Crim. No. RDB 17.0659

Dear Mr. Baltcr:

        This Ictter, togcthcr with thc Scalcd Supplcmcnt, confinns thc pica agreemcnt which has
becn offcrcd to thc Defcndant by thc United Statcs Attorney's Officc for thc District of Maryland
("this Officc"). Ifthc Dcfcndant acccpts this offcr. plcasc havc him cxccutc it in thc spaccs
providcd belo\\'. If this offcr has not bccn acccptcd by e10sc ofbusincss on May 7, 201S. it will
bc decmcd withdrawn.       Thc tcnllS of the agrccmcnt arc as follows:

                                           Offcnsc of Conviction

        I.     Thc Defendant agrccs to plcad guilty to Count Onc ofthc Indictmcnt pcnding
against him which chargcs him with Transportation of Child Pornography, in violation of 18
U.S.c. SS 2252A(a)( 1) and (b)( I). Thc Dclcndant admits that hc is. in fact, guilty of this offcnsc
and will so advisc thc Court.

                                          Elcmcnts of thc Offcnsc

       2.      Thc clcmcnts ofthc offcnsc to which thc Dcfendant has agrccd to plead guilty,
and which this Office would provc if the casc wcnt to trial, arc as follows:

                Transportation      of Child Pornographv             (Count One)

                    First, that on or about July 25. 2015. thc Dcfcndant                       knowingly         transpOltcd a
visual depiction;

                 Sccond, said visual dcpiction was shipped or transported                               in and affccting
interstatc or forcign commcrcc by any means. including computcr;

               Third, thc production of said visual dcpiction involvcd thc use of a minor
engaging in scxually cxplicit conduct:
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               Fourth, said visual depiction is of a minor engaged in sexually explicit conduct;
and

               Fifth, the Defendant knew that at least one of the individuals in such visual
depiction was a minor and knew that the visual depiction was of such minor engaged in sexually
explicit conduct.

                                             Penalties

         3.     The maximum sentence provided by statute for the offense to which your client is
pleading guilty is a mandatory minimum of five (5) years of incarceration, with a maximum of
twenty (20) years of incarceration, followed by a term of supervised release of not less than five
years and not more than life and a fine of up to $250,000. In addition, the Defendant must pay
$100 as a special assessment for each offense pursuant to 18 U.S.C. 9 3013, and must pay a
$5,000 special assessment pursuant to Title 18, United States Code, Section 30 I4(a), which will
be due and should be paid at or before the time of sentencing.. This Court may also order him to
make restitution pursuant to 18 U.S.C. 99 3663, 3663A, and 3664. Ifa fine or restitution is
imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. 9 3572(d), the Court
orders otherwise. The Defendant understands that ifhe serves a term of imprisorunent, is
released on supervised release, and then violates the conditions of his supervised release, his
supervised release could be revoked - even on the last day of the term - and the Defendant could
be returned to custody to serve another period of incarceration and a new term of supervised
release. The Defendant understands that the Bureau of Prisons has sole discretion in designating
the institution at which the Defendant will serve any term of imprisorunent imposed.

        4.      The Defendant understands and agrees that as a consequence of his conviction for
the crime to which he is pleading guilty, he will be required to register as a sex offender in the
place where he resides, where he is an employee, and where he is a student, pursuant to the Sex
Offender Registration and Notification Act (SaRNA), and the laws of the state of his residence.
Failure to do so may subject him to new charges pursuant to 18 U.S.C. 9 2250.

                                    Pending Forensic Analysis

         5.     The Defendant understands that as part of this plea agreement, he will provide the
password necessary to access the Apple iPhone 7, model: A1660, FCC ID: BCG-E3085A, IC:
579C-E3085A, black in color, seized from him upon his arrest on December 15, 2017 ("the
iPhone"). Access to the iPhone and the ability to conduct a full forensic examination of the
iPhone is a condition of this plea agreement. Further, if the forensic analysis reveals evidence of
the production of child pornography, the use of an interstate facility to engage in a sexual act
with a minor, or any crime of violence (with the exception of the possession, receipt, and/or
transportation/distribution of child pornography), the Government will be free to prosecute those
offenses. However, if the forensic examination reveals evidence limited to the possession,
receipt, and/or transportation/distribution of child pornography, the Government agrees not to
utilize the results of the examination during the sentencing hearing.




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                                         Waiver of Rights

        6.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without ajury, if the Defendant, this Office, and the Court all agreed.

                b.      If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

                 d.      The Defendant would have the right to testifY in his own defense ifhe so
chose, and he would have the right to refuse to testifY. Ifhe chose not to testifY, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testifY.

                e.     If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the
verdict and the Court's decisions.

                f.     By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have
to answer the Court's questions both about the rights he is giving up and about the facts of his
case. Any statements the Defendant makes during such a hearing would not be admissible
against him during a trial except in a criminal proceeding for peIjury or false statement.

                g.      If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that ifhe is not a citizen of the United States, pleading guilty may have
consequences with respect to his immigration status. Under federal law, conviction for a broad

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range of crimes can lead to adverse immigration consequences, including automatic removal
from the United States. Removal and other immigration consequences are the subject of a
separate proceeding, however, and the Defendant understands that no one, including his attorney
or the Court, can predict with certainty the effect of a conviction on immigration status.
Defendant nevertheless affirms that he wants to plead guilty regardless of any potential
immigration consequences.

                              Advisory Sentencing Guidelines Apply

       7.       The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. ~~ 3551-3742 (excepting 18 U.S.C. ~~ 3553(b)(I) and
3742(e)) and 28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court
will impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into
account the advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

       8.     This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt and to the following applicable sentencing guidelines factors:

                a.     The base offense level is twenty-two (22) pursuant to U.S.S.G.
~2G2.2(a)(I).

               b.      Pursuant to U.S.S.G. ~2G2.2(b)(2), there is a two (2) level increase
because the depictions involved prepubescent minors or minors under the age of twelve (12).

                c.     Pursuant to U.S.S.G. ~2G2.2(b)(3)(B), there is a five (5) level increase
because the offense involved distribution for the receipt, or expectation of receipt, of a thing of
value, but not for pecuniary gain.

              d.      Pursuant to U.S.S.G. ~2G2.2(b)(4), there is a four (4) level increase
because the material portrays sadistic or masochistic conduct or other depictions of violence.

               e.     Pursuant to U.S.S.G. ~2G2.2(b)(6), there is a two (2) level increase
because the possession and distribution involved the use of a computer.

              f.     Pursuant to U.S.S.G. ~2G2.2(b)(7)(D), there is a five (5) level increase
because the number of images exceeds 600.

                g.       This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level, based upon your client's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. ~3El.l(b) for an additional I-level decrease in recognition of your
client's acceptance of personal responsibility for his conduct. This Office may oppose any
adjustment for acceptance of responsibility if your client (a) fails to admit each and every item in
the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting statements

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about his involvement in the offense; (d) is untruthful with the Court, this Office or the United
States Probation Officer; (e) obstructs or attempts to obstruct justice prior to sentencing; (f)
engages in any criminal conduct between the date of this agreement and the date of sentencing;
or (g) attempts to withdraw his plea of guilty.

               h.      Thus, the final anticipated adjusted base offense level is thirty-seven (37).

        9.      The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

        10.     This Office and the Defendant agree that, with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in Chapters 2, 3,4 or 5 of the United States
Sentencing Guidelines will be raised or are in dispute.

        II.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct. Should the defendant choose to file a
sentencing memorandum in this matter, the defendant agrees to file any such memorandum ten
business days prior to the date of sentencing.

                                      Rule II (c)(I)(C)   Plea

         12.    The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
I I(c)(I)(C) that a sentence of 150 months of imprisonment, to be followed by at least five years
and up to a lifetime term of supervised release, is the appropriate disposition of this case. This
agreement does not affect the Court's discretion to impose any lawful conditions of supervised
release. In the event that the Court rejects this plea agreement, either party may elect to declare
the agreement null and void. Should the Defendant so elect, he will be afforded the opportunity
to withdraw his plea pursuant to the provisions of Federal Rule of Criminal Procedure I I(c)(5).
The parties agree that if the Court finds that the defendant engaged in obstructive or unlawful
behavior and/or failed to acknowledge personal responsibility as set forth herein, neither the
Court nor the government would be bound by the specific sentence or sentencing range
contained in this paragraph and the defendant would not be able to withdraw his plea.

                                         Waiver of Appeal

        13.    In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

                a.      The Defendant knowingly waives all right, pursuant to 28 U.S.C. ~ 1291
or any other statute or constitutional provision, to appeal the Defendant's conviction on any
ground whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on
the ground that the statute(s) to which the defendant is pleading guilty is unconstitutional, or on
the ground that the admitted conduct does not fall within the scope of the statute(s).


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                b.       The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. !l 3742 to appeal whatever sentence is imposed for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
defendant's criminal history, the weighing ofthe sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release).

                c.      The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

        14.    The Defendant further waives any and all motions, defenses, probable cause
determinations, objections which defendant could assert to the Indictment or to the Court's entry
of judgment against the Defendant, and any imposition of sentence upon the Defendant
consistent with this agreement. If Defendant files a notice of appeal, notwithstanding this
agreement, Defendant agrees that this case shall be remanded to the district court to determine
whether Defendant is in breach of this agreement and, if so, to permit the United States to
withdraw from the plea agreement.

                              Obstruction or Other Violations of Law

          15.    The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. !l3Cl.l, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, (iii) moves to withdraw his guilty plea or (iv) commits any
offense in violation of federal, state or local law, then this Office will be relieved ofits
obligations to the Defendant as reflected in this agreement. Specifically, this Office will be free
to argue sentencing guidelines factors other than those stipulated in this agreement, and it will
also be free to make sentencing recommendations other than those set out in this agreement. As
with any alleged breach of this agreement, this Office will bear the burden of convincing the
Court of the Defendant's obstructive or unlawful behavior and/or failure to acknowledge
personal responsibility by a preponderance of the evidence. The Defendant acknowledges that
he may not withdraw his guilty plea--even if made pursuant to Rule I I(c)(I)(C) -- if the Court
finds that the defendant engaged in obstructive or unlawful behavior and/or failure to
acknowledge personal responsibility. In that event, neither the Court nor the government would
be bound by thc specific sentence or sentencing range agreed and stipulated to herein pursuant to
 I I(c)(I)(C).

                                              Forfeiture

        16.    The defendant agrees to forfeit all right, title and interest in the property seized by
law enforcement authorities from his residence on February 10,2017, including, but not limited
to: one Purple Lexar USB thumb drive, sin AAZGMH8QMMOS4LN7; one Toshiba USB
thumb drive, sin C89CDCBF7052CF50; one Purple Lexar USB thumb drive, sIn
AAXUNKCOVVZ7TUXN; one Western Digital hard drive, wd500aakS-65A7BO, sin
WMASY1469715; and one ASUS laptop, X551M, and accompanying Seagate Hard Drive

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ST5000LTOl2 sin S3PFCGOR; as wcll as any other items seized, where forensic analysis
establishes, were used to distribute andlor possess child pornography. He further agrees to take
whatever steps arc necessary to pass clear title to those properties to the United States.

                                               Restitution

          17.
violence pursuant to 18 U.S.c. ~ 16. Therefore, under 18 U.S.c.      ~*
                 For purposes of sentencing, the offcnse of conviction constitutes a crime of
                                                                          3663A, 2259, and 3771,
any identified victim is entitled to mandatory restitution. The restitution could include the
medical bills, compensation for time missed from work, as well as counseling costs (including

projected. 18 U.S.C.  ~*
travel) for any of the victims related to the incident, ifany such costs exist or arc reasonably
                           2259, 3663A(b)(2) and (4). The Defendant further agrees that he will
fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
infonnation, including but not limited to copies of all relevant bank and financial records,
regarding the current location and prior disposition of all funds obtained as a result of the
criminal conduct set forth in the factual stipulation. The Defendant further agrees to take all
reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it will be considered a material breach
of this plea agreement, and this Office may seck to be relieved of its obligations under this
agreement. Defendant understands that an unanticipated amount of a restitution order will not
serve as grounds to withdraw Defendant's guilty pIca. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons Inmate Financial Responsibility
Program.

                                          Entire Agreement

         18.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Scaled Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there arc no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Scaled Supplement and none will be entered into unless in writing
and signed by all parties.

        If the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.

                                                Very truly yours,

                                                 Robel1 K. Hur
                                                 United States Attorney


                                         By:




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        I have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not
wish to change any part of it. I am completely satisfied with the representation of my attorney.


                                                     =
 5=j-18                                        ~,......---_:::>
Date                                          Raymond Kilchenstein


        I am Raymond Kilchenstein's attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement, with him. He advises me that he understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and
voluntary one.




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                                         EXHIBIT A
                                     STIPULATED FACTS

        The undersigned parties hereby stipulate and agree that the following facts are true. and
if this case had proceeded to trial. the government would have proven these facts beyond a
reasonable doubt. The undersigned parties also stipulate and agree that thefollowingfacts do not
encompass all of the evidence that would have been presented had this matter proceeded to trial.

       The defendant, Raymond Kilchenstein ("Kilchenstein"), born in 1965, is a former resident

of Essex, Baltimore County, Maryland.

       On May 12, 1997, at Travis Air Force Base, Kilchenstein pled guilty under Article 134 of

the Uniform Code of Military Justice and admitted that, from March 1992 through June 1996, he

repeatedly sexually abused a minor female, including penetrating the minor female's vagina with

his fingers and penis, as well as acts of oral sex. When the abuse began, the minor female was four

years old. Kilchenstein also acknowledged that in June of 1996, he fondled the breasts and vagina

of a second 10 year-old minor female. Kilchenstein was sentenced to ten years of confinement and

dishonorably discharged from the Air Force. Kilchenstein was released on or about May 2, 2003

and, since that time, has been registered as a sex offender.

       Beginning in 2015, Kilchenstein was trading child pornography in three separate ways: (I)

by using a foreign web site that facilitates sharing images and videos; (2) through various email

addresses; and (3) by utilizing KIK, an instant messaging application for mobile devices that

allows users to share photos, videos, and other content, while utilizing the username "daddyspike."

       On February 10,2017, law enforcement executed a search warrant at Kilchenstein's home

but he was not present at the time. Law enforcement seized various digital storage media, to

include three thumb drives, an ASUS laptop computer, and a hard drive. While the investigation

indicated that Kilchenstein was likely using a cellular telephone to access the internet generally,

and the KIK application, specifically, there was no cellular telephone found at the residence even
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though law enforcement observed a box for an iPhone.

       The electronic items seized were submitted to the FBI Digital Analysis Research Center

for forensic examinations.   The forensic examinations resulted in the discovery of over 20,000

images and approximately 665 videos of child pornography, to include over 275 identified series

of child pornography, stored within the electronic items seized from Kilchenstein's residence. The

images and videos included prepubescent minors engaged in sexually explicit conduct, as well as

sadistic, masochistic, and other depictions of violence. The images and videos described in the

Indictment are incorporated and acknowledged here.

       The items seized were all manufactured outside Maryland, specifically: one Purple Lexar

USB thumb drive, sin AAZGMH8QMMOS4LN7;                   one Toshiba    USB thumb drive, sin

C89CDCBF7052CF50; one Purple Lexar USB thumb drive, sin AAXUNKCOVVZ7TUXN; one

Western Digital hard drive, wd500aakS-65A7BO, sin WMASY1469715; and one ASUS laptop,

X551M, and accompanying Seagate Hard Drive ST5000LTOl2 sin S3PFCGOR.                Therefore, the

videos and images were produced using materials that, had been mailed, shipped, and transported

in and affecting interstate and foreign commerce.

       Forensic examination of the hard drive from Kilchenstein's ASUS laptop indicated that he

backed up his iPhone to that drive. The back-up file contained      music files, image files, text

messaging files, streams of text messages where images were both sent and received, along with

other information stored within the original phone to which the backup file was created.

Kilchenstein's iPhone backup file had Kik messenger installed with a user input screenname of

"daddyspike", and a user input name of "Ray K". Stored KIK messages in Kilchenstein's backup

file show that he utilized the application to both send and received images of child pornography to

other users on KIK. Thus, these images were sent and received in and affecting interstate and



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     foreign commerce.

            On December 15, 2017, Kilchenstein was arrested at his residence in Essex, Baltimore

     County, Maryland. At the time of the arrest, an Apple iPhone 7, model: A1660, FCC 10: BCG-

     E3085A, IC: 579C-E3085A, black in color, and stored within an "Otterbox" brand phone case was

     seized, but locked, thus preventing forensic analysis of it to date.



           I have read this statement of facts, and carefully reviewed it with my attorney. I
     acknowledge that it is true and correct.


                                                               c ~
                                                            Raymond Kilchenstein


            I am Raymond Kilchenstein's attorney. I have carefully reviewed the statement of facts
     with him. He acknowledges it .    e and     ect and he knowingly and voluntarily agrees to it.

                                              ~




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